                    Case 22-06775            Doc 1       Filed 06/16/22 Entered 06/16/22 13:21:42                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Kinsey & Kinsey, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  26 N. Park Blvd.
                                  Glen Ellyn, IL 60137-5712
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  DuPage                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.kinsey.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    Kinsey & Kinsey, Inc.                                                                       Case number (if known)
          Name



7.   Describe debtor's business       A. Check one:
                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                         Railroad (as defined in 11 U.S.C. § 101(44))
                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                         Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                         None of the above

                                      B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                      C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                        http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the       Check one:
     Bankruptcy Code is the
                                         Chapter 7
     debtor filing?
                                         Chapter 9

                                         Chapter 11. Check all that apply:

                                                                Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                are less than $3,024,725 (amount subject to adjustment on 04/01/25 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                statement, and federal income tax return, or if all of these documents do not exist, follow the
                                                                procedure in 11 U.S.C. § 1116(1)(B).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D) and it chooses to
                                                                proceed under Subchapter V of Chapter 11.
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                (Official Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                         Chapter 12

9.   Were prior bankruptcy               No.
     cases filed by or against
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                 When                                  Case number
                                                District                                 When                                  Case number




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    Kinsey & Kinsey, Inc.                                                                           Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Kinsey & Kinsey, Inc.                                                          Case number (if known)
         Name

                                 $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Kinsey & Kinsey, Inc.                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 16, 2022
                                                  MM / DD / YYYY


                             X   /s/ Bradley J. Kinsey                                                    Bradley J. Kinsey
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Vice-President




18. Signature of attorney    X   /s/ Chester H. Foster, Jr.                                                Date June 16, 2022
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Chester H. Foster, Jr. 3122632
                                 Printed name

                                 Foster Legal Services, PLLC
                                 Firm name

                                 16311 Byron Drive
                                 Orland Park, IL
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     708-403-3800                  Email address      chf@fosterlegalservices.com

                                 3122632 IL
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Kinsey & Kinsey, Inc.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       June 16, 2022                   X /s/ Bradley J. Kinsey
                                                           Signature of individual signing on behalf of debtor

                                                            Bradley J. Kinsey
                                                            Printed name

                                                            Vice-President
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name Kinsey & Kinsey, Inc.
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF ILLINOIS                                                                       Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 ABH Technologies,         Heather Bindbeutel Trade debt                                                                                                         $26,425.00
 Inc.
 8961 Gentle Mist          Heather.bindbeutel
 Circle                    @abhtechnologies.
 Heather Bindbeutel        com
 Ooltewah, TN              (678) 362-1325)
 37363-3000
 Accurate Office           Carol Heimann             Trade debt                                                                                                        $37.62
 Supply
 260 Gerzevske Lane
 Carol Stream, IL          (630) 784-4700
 60188-2049
 Amen Consulting           DaveAmen                  Trade debt                                                                                                      $957.37
 7323 S. Syracuse
 Street                    d.amen@kinsey.co
 Centennial, CO            m
 80112                     (303) 773-3535
 Applesauce                Lisa Mott        Trade debt                                                                                                           $22,024.00
 Consulting, Ltd.
 2639 Lee Drive            lisa@applesauceco
 Pleasant View, TN         nsulting.com
 37146-8028                (720) 474-7085
 Atos Digital Health       Sean Gault        Trade debt                                                                                                              $525.00
 Solutions, Inc.
 PO Box 78000              sean.galt@atos.net
 Dept 772066               (561) 432-6647
 Detroit, MI
 48278-1177
 Bellin Memorial           Bellin Memorial           Voidable Citation         Disputed                    $786,749.29               $288,465.16               $498,284.13
 Hospital                  Hospital c/o              Lien
 744 Webster Ave.
 P.O. Box 23400            312.443.3200
 Green Bay, WI 54305
 Fritz K. Huszagh          Fritz K. Huszagh          Trade debt                                                                                                    $7,815.50
 3841 Brittany Road
 Northbrook, IL            fhuszagh@fkhlegal
 60062                     .com
                           (312) 305-3521

Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    Kinsey & Kinsey, Inc.                                                                     Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Intellias                 Chad Mitchell             Trade debt                                                                                                      $500.00
 P.O. Box 1269
 Allen, TX                 cmitchell@intellias.
 75013-8043                com
                           (888) 777-0966
 Mandolino                 Guy Henson           Trade debt                                                                                                         $4,084.00
 Investments
 617 S. Club House         g.henson@kinsey.
 Road                      com
 Virginia Beach, VA        (757) 621-8236
 23452
 Mike Nitka                Mike Nitka                Trade debt                                                                                                      $125.99
 6N422 Foley Lane
 Saint Charles, IL         m.nitka@kinsey.co
 60175                     m
                           (262) 705-2102
 Mike Oswald               Mike Oswald       Trade debt                                                                                                              $593.36
 45 Sunset View
 Road                      m.oswald@kinsey.
 Deer Park, IL 60010       com
                           (847) 507-4075
 Minds At Meet             Ashanti Rowe              Trade debt                                                                                                    $2,500.00
 Consulting, LLC
 1446 Woodbine             a.rowe@kinsey.co
 Street                    m
 Clearwater, FL            (727) 667-2262
 33755
 Nicode Tech, LLC          Nilaja Wilkerson          Trade debt                                                                                                    $9,545.00
 1400 Veterans
 Memorial Pkwy
 # 134                     (404)822-1864
 Mableton, GA 30126
 Northwestern              John Tibensky             Trade debt                                                                                                    $4,903.20
 Mutual Life
 1475 E. Woodfield         john.tibensky@nmf
 Road                      n.com
 Suite 900                 (708) 386-1300
 Schaumburg, IL
 60173
 The Hanover               TJ Connors                Trade debt                                                                                                    $1,409.62
 Insurance Group
 PO Box 580045             TJ.Connors@theho
 Charlotte, NC             rtongroup.com
 28258-0045                (800) 922-8427




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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Fill in this information to identify the case:

Debtor name           Kinsey & Kinsey, Inc.

United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $           851,664.16

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $           851,664.16


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,315,032.29


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            81,445.66


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           1,396,477.95




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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Fill in this information to identify the case:

Debtor name         Kinsey & Kinsey, Inc.

United States Bankruptcy Court for the:      NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Byline Bank                                       Checking - General                    6336                                     $7,272.78




          3.2.     Providence Bank                                   Checking - General                    6193                                     $8,652.31



4.        Other cash equivalents (Identify all)


          4.1.     Undeposited checks.                                                                                                           $248,856.93




5.        Total of Part 1.                                                                                                                   $264,782.02
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit



Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                        page 1
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Debtor           Kinsey & Kinsey, Inc.                                                      Case number (If known)
                 Name




          7.1.     Prepaid expenses                                                                                                      $17,792.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


          8.1.     Prepaid IL income tax                                                                                                 $11,916.00




9.        Total of Part 2.                                                                                                           $29,708.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable


          11b. Over 90 days old:                       736,297.97      -                          240,986.83 =....                      $495,311.14
                                        face amount                           doubtful or uncollectible accounts



12.       Total of Part 3.                                                                                                          $495,311.14
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:          Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:          Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                              Net book value of         Valuation method used     Current value of
                                                                           debtor's interest         for current value         debtor's interest
                                                                           (Where available)
Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                         page 2
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Debtor       Kinsey & Kinsey, Inc.                                                          Case number (If known)
             Name



39.       Office furniture
          Office furniture and fixtures.                                            Unknown         Liquidation                          $2,000.00



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          Computers, printers telephone system and
          copy machine.                                                             Unknown         Liquidation                          $4,000.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                               $6,000.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
             No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used     Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value         debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    2019 Audi 6                                                     $10,000.00       N/A                                 $42,863.00


          47.2.    2012 Volvo C 70                                                 $13,000.00       N/A                                 $13,000.00



48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)

51.       Total of Part 8.                                                                                                          $55,863.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
             No
             Yes
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 3
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Debtor        Kinsey & Kinsey, Inc.                                                        Case number (If known)
              Name



53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
              No
              Yes

Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of          Valuation method used     Current value of
                                                                        debtor's interest          for current value         debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites

62.        Licenses, franchises, and royalties
           Developed/owned software; maintenance 2021                                    $0.00                                          Unknown



63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                               $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 4
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Debtor          Kinsey & Kinsey, Inc.                                                                               Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $264,782.02

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $29,708.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $495,311.14

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                            $6,000.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $55,863.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                            $851,664.16           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $851,664.16




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 5
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Fill in this information to identify the case:

Debtor name         Kinsey & Kinsey, Inc.

United States Bankruptcy Court for the:           NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                  12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.
Part 1:     List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
2.1   Bank of America                              Describe debtor's property that is subject to a lien                   $32,863.00                $42,863.00
      Creditor's Name                              2019 Audi 6
      PO BOX 851001
      Dallas, TX 75285-1001
      Creditor's mailing address                   Describe the lien

                                                   Is the creditor an insider or related party?
                                                      No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number

      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply
          No                                          Contingent
          Yes. Specify each creditor,                 Unliquidated
      including this creditor and its relative        Disputed
      priority.



2.2   Bellin Memorial Hospital                     Describe debtor's property that is subject to a lien                 $786,749.29               $288,465.16
      Creditor's Name                              All asets of Debtor except automobiles & IL
      744 Webster Ave.                             Prepaid Taxes
      P.O. Box 23400
      Green Bay, WI 54305
      Creditor's mailing address                   Describe the lien
                                                   Voidable Citation Lien
                                                   Is the creditor an insider or related party?
      312.443.3200                                    No
      Creditor's email address, if known               Yes
                                                   Is anyone else liable on this claim?
      Date debt was incurred                          No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
      Last 4 digits of account number
      0244
      Do multiple creditors have an                As of the petition filing date, the claim is:
      interest in the same property?               Check all that apply



Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                                page 1 of 3
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Debtor       Kinsey & Kinsey, Inc.                                                                 Case number (if known)
             Name

           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



2.3    Byline Bank                                 Describe debtor's property that is subject to a lien                     $295,420.00              $783,885.16
       Creditor's Name                             All asets of Debtor except automobiles & IL
                                                   Prepaid Taxes
       180 N LA SALLE ST
       Chicago, IL 60601-2501
       Creditor's mailing address                  Describe the lien
                                                   UCC FILING
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
                                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       8850
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.



       Small Business
2.4                                                                                                                         $200,000.00              $488,465.16
       Administration                              Describe debtor's property that is subject to a lien
       Creditor's Name                             All asets of Debtor except automobiles & IL
                                                   Prepaid Taxes
       409 3rd Street SW, Ste.7211
       Washington, DC 20416
       Creditor's mailing address                  Describe the lien
                                                   Security Agreement
                                                   Is the creditor an insider or related party?
                                                      No
       Creditor's email address, if known              Yes
                                                   Is anyone else liable on this claim?
       Date debt was incurred                         No
       3/31/2022                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       9106
       Do multiple creditors have an               As of the petition filing date, the claim is:
       interest in the same property?              Check all that apply
           No                                         Contingent
           Yes. Specify each creditor,                Unliquidated
       including this creditor and its relative       Disputed
       priority.




                                                                                                                            $1,315,032.2
3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       9

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.



Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                       page 2 of 3
             Case 22-06775        Doc 1      Filed 06/16/22 Entered 06/16/22 13:21:42                           Desc Main
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Debtor    Kinsey & Kinsey, Inc.                                             Case number (if known)
          Name

      Name and address                                                              On which line in Part 1 did       Last 4 digits of
                                                                                    you enter the related creditor?   account number for
                                                                                                                      this entity
      Christine Nell
      Small Business Administration                                                 Line   2.4                                9106
      409 3rd St. SW, Suite 7211
      Washington, DC 20416

      Kate O’laughlin
      Small Business Administration                                                 Line   2.4                                9106
      409 3rd St. SW, Suite 7211
      Washington, DC 20416

      Williams & John Ltd.
      233 S. Wacker Dr., Ste. 6800                                                  Line   2.2                               A244
      Christopher J. Barber
      Chicago, IL 60608




Official Form 206D       Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                            page 3 of 3
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Secured Creditors' Value of Collateral

Total Asset Value                             $   851,664.16
Less IL Tax Pre-paid                          $   (11,916.00)
Less Audi Value                               $   (42,863.00)
Less Volvo Value                              $   (13,000.00)
Total Secured Creditors' Collateral           $   783,885.16

Total Secured Creditors' Collateral           $ 783,885.16
Byline's Collateral Value                     $ (295,420.00)
SBA's Collateral Value                        $ 488,465.16

SBA's Collateral Value                        $ 488,465.16
SBA's Claim                                   $ (200,000.00)
Bellin's Collateral Value                     $ 288,465.16
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Fill in this information to identify the case:

Debtor name        Kinsey & Kinsey, Inc.

United States Bankruptcy Court for the:         NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                                    Check if this is an
                                                                                                                                                    amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                   12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim

3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $26,425.00
          ABH Technologies, Inc.                                               Contingent
          8961 Gentle Mist Circle                                              Unliquidated
          Heather Bindbeutel                                                   Disputed
          Ooltewah, TN 37363-3000
                                                                            Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                       $37.62
          Accurate Office Supply                                               Contingent
          260 Gerzevske Lane                                                   Unliquidated
          Carol Stream, IL 60188-2049                                          Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                     $957.37
          Amen Consulting                                                      Contingent
          7323 S. Syracuse Street                                              Unliquidated
          Centennial, CO 80112                                                 Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes

3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $22,024.00
          Applesauce Consulting, Ltd.                                          Contingent
          2639 Lee Drive                                                       Unliquidated
          Pleasant View, TN 37146-8028                                         Disputed
          Date(s) debt was incurred
                                                                            Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                            Is the claim subject to offset?       No     Yes




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                          page 1 of 3
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Debtor      Kinsey & Kinsey, Inc.                                                           Case number (if known)
            Name

3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $525.00
         Atos Digital Health Solutions, Inc.                          Contingent
         PO Box 78000                                                 Unliquidated
         Dept 772066                                                  Disputed
         Detroit, MI 48278-1177
                                                                   Basis for the claim:    Trade debt
         Date(s) debt was incurred
         Last 4 digits of account number                           Is the claim subject to offset?     No       Yes


3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $7,815.50
         Fritz K. Huszagh                                             Contingent
         3841 Brittany Road                                           Unliquidated
         Northbrook, IL 60062                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $500.00
         Intellias                                                    Contingent
         P.O. Box 1269                                                Unliquidated
         Allen, TX 75013-8043                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.8      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $4,084.00
         Mandolino Investments                                        Contingent
         617 S. Club House Road                                       Unliquidated
         Virginia Beach, VA 23452                                     Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.9      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $125.99
         Mike Nitka                                                   Contingent
         6N422 Foley Lane                                             Unliquidated
         Saint Charles, IL 60175                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.10     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.                $593.36
         Mike Oswald                                                  Contingent
         45 Sunset View Road                                          Unliquidated
         Deer Park, IL 60010                                          Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes

3.11     Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.               $2,500.00
         Minds At Meet Consulting, LLC                                Contingent
         1446 Woodbine Street                                         Unliquidated
         Clearwater, FL 33755                                         Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim:    Trade debt
         Last 4 digits of account number
                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 3
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Debtor       Kinsey & Kinsey, Inc.                                                                  Case number (if known)
             Name

3.12      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $9,545.00
          Nicode Tech, LLC                                                    Contingent
          1400 Veterans Memorial Pkwy                                         Unliquidated
          # 134                                                               Disputed
          Mableton, GA 30126
                                                                           Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?       No     Yes


3.13      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $4,903.20
          Northwestern Mutual Life                                            Contingent
          1475 E. Woodfield Road                                              Unliquidated
           Suite 900                                                          Disputed
          Schaumburg, IL 60173
                                                                           Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                  Is the claim subject to offset?       No     Yes


3.14      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $1,409.62
          The Hanover Insurance Group                                         Contingent
          PO Box 580045                                                       Unliquidated
          Charlotte, NC 28258-0045                                            Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                           Is the claim subject to offset?       No     Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the            Last 4 digits of
                                                                                                    related creditor (if any) listed?                  account number, if
                                                                                                                                                       any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                              0.00
5b. Total claims from Part 2                                                                           5b.   +    $                         81,445.66

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                              81,445.66




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 3 of 3
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Fill in this information to identify the case:

Debtor name       Kinsey & Kinsey, Inc.

United States Bankruptcy Court for the:     NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Office spce lease for
           lease is for and the nature of        premises located at 26
           the debtor's interest                 N. Park Blvd.2022 =
                                                 $16,983.48
                                                 ($1415.29/mo)
               State the term remaining          6 months                           Dr. Thomas Gibbs
                                                                                    Glen Park Dental LLC
           List the contract number of any                                          26 N. Park Blvd.
                 government contract                                                Glen Ellyn, IL 60137




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Kinsey & Kinsey, Inc.

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Bradley Kinsley             668 Essex Road                                            Byline Bank                        D   2.3
                                      Glen Ellyn, IL 60137                                                                         E/F
                                                                                                                                   G




   2.2    Daniel B. Kinsey            304 E. Harrison                                           Byline Bank                        D   2.3
                                      Wheaton, IL 60187                                                                            E/F
                                                                                                                                   G




   2.3    Daniel B. Kinsey            304 E. Harrison                                           Bank of America                    D   2.1
                                      Wheaton, IL 60187                                                                            E/F
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Kinsey & Kinsey, Inc.

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ILLINOIS

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                               $857,108.00
      From 1/01/2022 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                             $4,697,981.00
      From 1/01/2021 to 12/31/2021
                                                                                          Other


      For year before that:                                                               Operating a business                             $3,848,575.00
      From 1/01/2020 to 12/31/2020
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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Debtor       Kinsey & Kinsey, Inc.                                                              Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    SEE ATTACHED.                                                                                $0.00


5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address
      7.1.     Bellin Memorial Hospital,               Breach of                   Circuit Court of Brown                        Pending
              Inc. vs. Kinsey & Kinsey, Inc.           Contract                    County                                        On appeal
              et al                                                                100 S Jefferson St
                                                                                                                                 Concluded
              Bre                                                                  Green Bay, WI 54301

      7.2.    Bellin Memorial Hospital, Inc.           Post Judgment               Circuit Court of18th                          Pending
              v. Kinsey & Kinsey, Inc.                 Supplementary               Judicial Circuit                              On appeal
              2022LA000244                             Proceedings.                505 N. County Farm Road
                                                                                                                                 Concluded
                                                                                   Glen Ellyn, IL 60137


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None


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               Recipient's name and address            Description of the gifts or contributions                  Dates given                          Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Foster Legal Services, PLLC
                16311 Byron Drive                                                                                      June 14,
                Orland Park, IL                          Attorney Fees                                                 2022                      $15,000.00

                Email or website address
                chf@fosterlegalservices.com

                Who made the payment, if not debtor?
                Philadelphia Indemnity Insurance
                Company



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                  Description of property transferred or                     Date transfer             Total amount or
               Address                                 payments received or debts paid in exchange                was made                           value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.



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          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address                Nature of the business operation, including type of services                If debtor provides meals
                                                        the debtor provides                                                         and housing, number of
                                                                                                                                    patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and            Last 4 digits of           Type of account or          Date account was                  Last balance
              Address                                   account number             instrument                  closed, sold,                 before closing or
                                                                                                               moved, or                              transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.




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         None

      Facility name and address                             Names of anyone with                  Description of the contents                   Does debtor
                                                            access to it                                                                        still have it?


Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                            Court or agency name and              Nature of the case                            Status of case
      Case number                                           address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

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26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                              Date of service
                                                                                                                                    From-To
      26a.1.        Jim Clohessy                                                                                                    January 2014 to
                    Sukowicz & Clohessy, LLP                                                                                        present.
                    2001 Midwest Road,
                    #210
                    Oak Brook, IL 60523

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address
      26d.1.        Byline Bank
                    180 N LA SALLE ST
                    Chicago, IL 60601-2501

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Daniel B. Kinsey                        304 E. Harrison                                     President                                 50
                                              Wheaton, IL 60187

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Mary H. Kinsey                          304 Harrison                                        Secretary                                 0
                                              Wheaton, IL 60187

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Bradley Kinsey                          668 Essex Rd.                                       Vice President                            50
                                              Glen Ellyn, IL 60137




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      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Christine Kinsey                       668 Essex Rd.                                       Treasurer                               0
                                             Glen Ellyn, IL 60137



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 SEE ATTACHED.
      .

             Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




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Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         June 16, 2022

/s/ Bradley J. Kinsey                                           Bradley J. Kinsey
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Vice-President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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      Name         Year         W-2 Salary      W-2 Bonus       Total W-2 Pay   R/E Distributions                  Comments

Bradley Kinsey     2022     $    116,637.44 $           -   $     116,637.44 $             -
                   2021     $    254,962.21 $           -   $     254,962.21 $      336,180.00      $136,180 (11/3/21) + $200,000 (12/10/21)

Christine Kinsey   2022     $      7,590.00 $           -   $        7,590.00 $              -
                   2021     $     16,560.00 $           -   $       16,560.00 $              -

Daniel Kinsey      2022     $     98,814.06 $           -   $      98,814.06 $             -
                   2021     $    216,114.84 $           -   $     216,114.84 $      336,180.00      $136,180 (11/3/21) + $200,000 (12/10/21)

Mary Kinsey        2022     $      7,590.00 $           -   $        7,590.00 $              -
                   2021     $     16,560.00 $           -   $       16,560.00 $              -
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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                              Northern District of Illinois
 In re       Kinsey & Kinsey, Inc.                                                                            Case No.
                                                                              Debtor(s)                       Chapter       11

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.    Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
      compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
      be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 15,000.00
             Prior to the filing of this statement I have received                                        $                 15,000.00
             Balance Due                                                                                  $                        0.00

2.    The source of the compensation paid to me was:

                  Debtor             Other (specify):      Philadelphia Indemnity Insurance Company

3.    The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

      a.    Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
      b.    Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
      c.    Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
      d.    [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.    By agreement with the debtor(s), the above-disclosed fee does not include the following service:
              Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
              any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     June 16, 2022                                                            /s/ Chester H. Foster, Jr.
     Date                                                                     Chester H. Foster, Jr. 3122632
                                                                              Signature of Attorney
                                                                              Foster Legal Services, PLLC
                                                                              16311 Byron Drive
                                                                              Orland Park, IL
                                                                              708-403-3800 Fax: 708-403-4095
                                                                              chf@fosterlegalservices.com
                                                                              Name of law firm
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                                                              Northern District of Illinois
 In re    Kinsey & Kinsey, Inc.                                                                                   Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder

-NONE-



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Vice-President of the corporation named as the debtor in this case, declare under penalty of perjury that I
have read the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and
belief.



Date June 16, 2022                                                       Signature /s/ Bradley J. Kinsey
                                                                                        Bradley J. Kinsey

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                 VERIFICATION OF CREDITOR MATRIX

                                                               Number of Creditors:                             24




        The above-named Debtor(s) hereby verifies that the list of creditors is true and correct to the best of my
        (our) knowledge.




Date:   June 16, 2022                         /s/ Bradley J. Kinsey
                                              Bradley J. Kinsey/Vice-President
                                              Signer/Title
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                      ABH Technologies, Inc.
                      8961 Gentle Mist Circle
                      Heather Bindbeutel
                      Ooltewah, TN 37363-3000


                      Accurate Office Supply
                      260 Gerzevske Lane
                      Carol Stream, IL 60188-2049


                      Amen Consulting
                      7323 S. Syracuse Street
                      Centennial, CO 80112


                      Applesauce Consulting, Ltd.
                      2639 Lee Drive
                      Pleasant View, TN 37146-8028


                      Atos Digital Health Solutions, Inc.
                      PO Box 78000
                      Dept 772066
                      Detroit, MI 48278-1177


                      Bank of America
                      PO BOX 851001
                      Dallas, TX 75285-1001


                      Bellin Memorial Hospital
                      744 Webster Ave.
                      P.O. Box 23400
                      Green Bay, WI 54305


                      Bradley Kinsley
                      668 Essex Road
                      Glen Ellyn, IL 60137


                      Byline Bank
                      180 N LA SALLE ST
                      Chicago, IL 60601-2501


                      Christine Nell
                      Small Business Administration
                      409 3rd St. SW, Suite 7211
                      Washington, DC 20416
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                  Daniel B. Kinsey
                  304 E. Harrison
                  Wheaton, IL 60187


                  Dr. Thomas Gibbs
                  Glen Park Dental LLC
                  26 N. Park Blvd.
                  Glen Ellyn, IL 60137


                  Fritz K. Huszagh
                  3841 Brittany Road
                  Northbrook, IL 60062


                  Intellias
                  P.O. Box 1269
                  Allen, TX 75013-8043


                  Kate O’laughlin
                  Small Business Administration
                  409 3rd St. SW, Suite 7211
                  Washington, DC 20416


                  Mandolino Investments
                  617 S. Club House Road
                  Virginia Beach, VA 23452


                  Mike Nitka
                  6N422 Foley Lane
                  Saint Charles, IL 60175


                  Mike Oswald
                  45 Sunset View Road
                  Deer Park, IL 60010


                  Minds At Meet Consulting, LLC
                  1446 Woodbine Street
                  Clearwater, FL 33755


                  Nicode Tech, LLC
                  1400 Veterans Memorial Pkwy
                  # 134
                  Mableton, GA 30126
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                  Northwestern Mutual Life
                  1475 E. Woodfield Road
                   Suite 900
                  Schaumburg, IL 60173


                  Small Business Administration
                  409 3rd Street SW, Ste.7211
                  Washington, DC 20416


                  The Hanover Insurance Group
                  PO Box 580045
                  Charlotte, NC 28258-0045


                  Williams & John Ltd.
                  233 S. Wacker Dr., Ste. 6800
                  Christopher J. Barber
                  Chicago, IL 60608
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                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Kinsey & Kinsey, Inc. in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




June 16, 2022                                  /s/ Chester H. Foster, Jr.
Date                                           Chester H. Foster, Jr. 3122632
                                               Signature of Attorney or Litigant
                                               Counsel for Kinsey & Kinsey, Inc.
                                               Foster Legal Services, PLLC
                                               16311 Byron Drive
                                               Orland Park, IL
                                               708-403-3800 Fax:708-403-4095
                                               chf@fosterlegalservices.com
